                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-308

                                       No. COA20-644

                                       Filed 6 July 2021

     Burke County, No. 18 CRS 341

     STATE OF NORTH CAROLINA

                   v.

     JOSHUA ARRON GIBSON, Defendant.


           Appeal by Defendant from judgment entered on 18 February 2020 by Judge

     Steven Warren in Burke County Superior Court. Heard in the Court of Appeals 28

     April 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Elizabeth B.
           Jenkins, for the State.

           Gilda C. Rodriguez for Defendant-Appellant.


           JACKSON, Judge.


¶1         Joshua Gibson (“Defendant”) argues that the trial court erred when it (1)

     denied Defendant’s motion to dismiss and (2) ordered payment of attorney’s fees

     without affording Defendant an opportunity to be heard. We disagree and find no

     error in the proceedings below.

                        I.   Facts and Procedural Background

¶2         On 3 May 2017, Kress Berry (“Mr. Berry”), a financial services representative,
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     operated the drive through lanes of a State Employees’ Credit Union branch

     (“SECU”). During Mr. Berry’s shift, a car pulled into the drive-through lane closest

     to him—placing the car and Mr. Berry approximately within 10 to 12 feet of each

     other. The individual sitting on the rear passenger side rolled his window down and

     submitted a check, driver’s license, and social security card through the SECU tube

     system.

¶3         Upon receiving the check and identification documents, Mr. Berry confirmed

     that the driver’s license, belonging to Defendant, matched the individual who was in

     the car. Mr. Berry, however, became suspicious of the check which he believed “didn’t

     feel quite right.” Mr. Berry also noticed that the writing on different parts of the

     check did not match, prompting Mr. Berry to contact Patricia Austin (“Mrs. Austin”),

     the person who had allegedly written the check. Mrs. Austin informed Mr. Berry that

     she did not write a check to Defendant and did not, in fact, know Defendant. Mrs.

     Austin did, however, write the check to the utility company for the Town of Long View

     and deposited it in her mailbox.      Before the mailman could retrieve the utility

     payment, a vehicle drove up to Mrs. Austin’s mailbox and removed the check.

¶4         After speaking with Mrs. Austin, Mr. Berry raised his concerns to his

     supervisor. At that time, the car Defendant was in drove away. Following the

     incident, SECU employees contacted the sheriff’s department and provided officers

     with the original check, Defendant’s driver’s license, and his social security card that
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     had been deposited through the SECU tube system.

¶5         On 16 April 2018, a grand jury indicted Defendant for uttering a forged

     instrument. The case was later tried on 18 February 2020, before the Honorable

     Judge Steven Warren in Burke County Superior Court. During the trial, Detective

     Burton Wilbur (“Detective Wilbur”) of the Burke County Sheriff’s Office testified

     regarding the chain of custody of Defendant’s driver’s license and social security card,

     and the check presented to Mr. Berry.           Mrs. Austin’s husband also testified,

     confirming that he did not write a check to Defendant.

¶6         At the close of the State’s evidence, Defendant moved to dismiss the charge of

     uttering a forged instrument for the State’s failure to present sufficient evidence that

     Defendant was the perpetrator of the alleged offense. The court denied Defendant’s

     motion. At the close of all the evidence, Defendant renewed his motion; the court

     denied that motion as well.

¶7         The jury returned a guilty verdict, and on 18 February 2020 Judge Warren

     entered a judgment sentencing Defendant to a term of five to 15 months, suspending

     the sentence, and placing Defendant on supervised probation for 18 months.

¶8         On 20 February 2020, Defendant filed a written notice of appeal.

                                       II.    Analysis

¶9         Defendant contends that the trial court erred in (1) denying Defendant’s

     motion to dismiss for failure to present sufficient evidence that Defendant was the
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       perpetrator and (2) ordering attorney’s fees without affording Defendant the

       opportunity to be heard. We address each issue in turn.

       A. Motion to Dismiss

¶ 10         A defendant’s motion to dismiss should be denied if “there is substantial

       evidence (1) of each essential element of the offense charged, or of a lesser offense

       included therein, and (2) of [the] defendant[ ] being the perpetrator of such offense.”

       State v. Scott, 356 N.C. 591, 595, 573 S.E.2d 866, 868 (2002) (citation omitted).

       Substantial evidence is defined as “such relevant evidence as a reasonable mind

       might accept as adequate to support a conclusion.” State v. Smith, 300 N.C. 71, 78-

       79, 265 S.E.2d 164, 169 (1980) (citations omitted). We review a trial court’s denial of

       a motion to dismiss de novo. State v. Sanders, 208 N.C. App. 142, 144, 701 S.E.2d

       380, 382 (2010).

¶ 11         “The essential elements of the crime of uttering a forged check are (1) the offer

       of a forged check to another, (2) with knowledge that the check is false, and (3) with

       the intent to defraud or injure another.” State v. Hill, 31 N.C. App. 248, 249, 229

       S.E.2d 810 (1976). Here, Defendant does not challenge whether the offense was

       committed. Instead, Defendant challenges the identity requirement necessary to

       overcome a motion to dismiss—arguing that the trial court erred in denying

       Defendant’s motion to dismiss because the State failed to present sufficient evidence

       that Defendant was the perpetrator.
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¶ 12          “In reviewing challenges to the sufficiency of evidence, we must view the

       evidence in the light most favorable to the State, giving the State the benefit of all

       reasonable inferences.” Scott, 356 N.C. at 596, 573 S.E.2d at 869 (citation omitted).

       “Moreover, circumstantial evidence may withstand a motion to dismiss and support

       a conviction even when the evidence does not rule out every hypothesis of innocence.”

       State v. Kemmerlin, 356 N.C. 446, 473, 573 S.E.2d 870, 889 (2002) (internal marks

       and citations omitted). Indeed, “[t]he trial court[,] in considering such motions[,] is

       concerned only with the sufficiency of the evidence to carry the case to the jury and

       not with its weight.” State v. Powell, 299 N.C. 95, 99, 261 S.E.2d 114, 117 (1980). To

       that end, “contradictions and discrepancies are for the jury to resolve and do not

       warrant dismissal.” Id.
¶ 13          Defendant was charged with uttering a forged instrument. During trial, the

       State offered the following as evidence that Defendant committed the offense: (1)

       Defendant’s driver’s license and social security card, which was furnished to Mr.

       Berry at the SECU drive-through; (2) testimony from Detective Wilbur, confirming

       the chain of custody to verify that the jury was presented with the same items that

       were furnished to Mr. Berry on 3 May 2017; and (3) testimony from Mr. Berry that

       he confirmed that the person in the drive-through lane matched Defendant’s driver’s

       license.

¶ 14          Taken in the light most favorable to the State and drawing all reasonable
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       inferences in favor of the State, the evidence showed that Defendant’s driver’s license

       and social security card were given to Mr. Berry along with a forged instrument, in

       the form of a check. Upon receiving the identifying documents, Mr. Berry utilized

       the driver’s license, which indisputably belongs to Defendant, to confirm that the

       person in the SECU drive-through matched the person who provided him with the

       license. During trial, Mr. Berry also confirmed that the individual in the rear seat of

       the car was clearly visible and within 10 to 12 feet of him when he compared the

       photograph on the license to the individual in the car—matching Defendant to his

       driver’s license. After confirming Defendant was in fact the individual he was dealing

       with, Mr. Berry took notice of the check’s texture, which he described as “real stiff,”

       as if “it had been damp or wet at some point.” Mr. Berry also noticed that the writing

       on the check did not match the signature.

¶ 15         These suspicions prompted Mr. Berry to contact the member who had

       “allegedly” written the check to Defendant. The member, Mrs. Austin, reviewed her

       checkbook and confirmed that the check had been written to a utility company. At

       trial, she testified that the check was taken from her mailbox the day preceding the

       offense. After contacting his supervisor, Mr. Berry testified that the car drove away.

       Thereafter, the sheriff’s office was contacted and provided with the original check and

       Defendant’s driver’s license and social security card. Detective Wilbur confirmed the

       chain of custody of Defendant’s driver’s license and social security card to ensure that
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       the jury received the same documents that Mr. Berry received on 3 May 2017.

¶ 16         Defendant contends that these facts are similar to State v. Bass, 303 N.C. 267,

       272, 278 S.E.2d 209, 212 (1981), in which our Supreme Court held that fingerprint

       evidence is insufficient when the State has failed to present substantial evidence of

       circumstances from which the jury could find that the fingerprints could only have

       been impressed at the time the crime was committed.             This case, however, is

       distinguishable from Bass for several reasons. In fingerprint cases, the State has an

       added burden because a person’s fingerprints can remain on a surface for long periods

       of time. See, e.g., id. at 270, 278 S.E.2d at 212 (“An expert in the field of fingerprint

       analysis found eleven points of similarity between the latent print on the screen and

       the known inked impressions of defendant’s prints. The State’s witnesses testified

       that fingerprints can last for months or even years”). Thus, the State must be able

       to link the fingerprint evidence to the crime. Here, Defendant’s driver’s license was

       provided to Mr. Berry, who confirmed that the license matched the person who

       provided it to him, while committing the underlying offense. Thus, Defendant’s

       identification documents were not simply left in a place for any reason other than

       Defendant’s commission of the crime.          Moreover, there is no indication that

       Defendant left his driver’s license or social security card on any other day or time

       than when the underlying offense was committed as confirmed by Detective Wilbur’s

       testimony.
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¶ 17         Thus, considering all evidence in the light most favorable to the State, we

       conclude that a reasonable jury could have found as fact that Defendant was the

       perpetrator.   Perhaps the strongest evidence introduced against Defendant was

       Defendant’s driver’s license and social security cards—documents that are generally

       (1) kept on one’s person and (2) used as key identification documents—which were

       presented to Mr. Berry, who confirmed that the driver’s license, containing a picture

       of Defendant, matched that of the individual in the car that sat approximately 10 to

       12 feet from Mr. Berry.       Moreover, the court was without evidence refuting

       Defendant’s presence at SECU, including any evidence supporting Defendant’s claim

       that his license and social security card were stolen.

¶ 18         Accordingly, we conclude that there was sufficient evidence to raise a jury

       question regarding Defendant being the perpetrator of the offense.

       B. Attorney’s Fees

¶ 19         Defendant also argues that the trial court erred in ordering payment of

       attorney’s fees without affording Defendant the opportunity to be heard.         We

       disagree.

¶ 20         Generally, “[a] challenge to a trial court’s decision to impose a condition of

       probation is reviewed on appeal using an abuse of discretion standard of review.”

       State v. Allah, 231 N.C. App. 88, 98, 750 S.E.2d 903, 911 (2013). However, “[a]

       number of conditions of probation are automatically included in each probationary
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       judgment unless the trial court specifically elects to exempt the defendant from the

       necessity for compliance with one or more of those conditions.” Id. at 97, 750 S.E.2d

       at 911.   For example, N.C. Gen. Stat. § 15A-1343 provides that “as [a] regular

       condition[ ] of probation, a defendant must . . . [p]ay the State of North Carolina for

       the costs of appointed counsel, public defender, or appellate defender to represent

       him in the case(s) for which he was placed on probation.” N.C. Gen. Stat. § 15A-

       1343(b)(10) (2019) (emphasis added).      Thus, § 15A-1343(b)(10) mandates that a

       defendant released on probation pay for the costs of appointed counsel.

¶ 21          There is, however, an exception to the mandate. Specifically, N.C. Gen. Stat.

       § 15A-1343(e) provides that any person placed on probation is required to pay all costs

       for court appointed counsel, “[u]nless the court finds there are extenuating

       circumstances[.]” N.C. Gen. Stat. § 15A-1343(e) (2019). When attorney’s fees are

       required, the amount “shall be determined in accordance with rules adopted by the

       Office of Indigent Defense Services. The court shall determine the amount of those

       costs and fees to be repaid and the method of payment.” Id.

¶ 22         Here, as a condition of probation, Defendant was ordered to pay $1,680 for the

       cost of attorney’s fees.   This number was based on testimony from Defendant’s

       appointed counsel that he had spent 28 hours on the case. At the time of judgment,

       the rate paid to counsel assigned to represent an indigent defendant charged with a
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       Class I felony in Superior Court was $60 an hour.1 Thus, Defendant’s attorney’s fee

       costs, calculated in compliance with N.C. Gen. Stat. § 15A-1343(e), totaled $1,680.

¶ 23          Defendant contends that the court should have afforded him an opportunity to

       be heard before ordering the payment of attorney’s fees. This argument, however, is

       misplaced. Indeed, this Court has only required notice and an opportunity to be heard

       when the court has imposed a civil judgment against an indigent defendant for

       attorney’s fees, pursuant to N.C. Gen. Stat. § 455(b). See, e.g., State v. Jacobs, 172

       N.C. App. 220, 235, 616 S.E.2d 306, 316 (2005) (recognizing that “N.C. Gen. Stat.

       § 7A-455 (2003) provides that the trial court may enter a civil judgment against a

       convicted indigent defendant for the amount of fees incurred by the defendant’s court-

       appointed attorney”); State v. Friend, 257 N.C. App. 516, 523 809 S.E.2d 902, 907
       (2018) (finding that the trial court erred by entering a civil judgment against the

       defendant, because he was not informed of his right to be heard before the court

       entered the judgment).

¶ 24          Here, the trial court did not enter a civil judgment to recoup attorney’s fees

       pursuant to N.C. Gen. Stat. § 455(b), but instead, imposed a condition that is

       automatically included in each probationary judgment. See N.C. Gen. Stat. § 15A-




              1 The hourly assigned counsel rate for Class E-I felony cases in the superior court,

       with a final disposition of or after 1 December 2018, is $60. Counsel Rates, Office of Indigent
       Defense Services, https://www.ncids.org/counsel-rates/.
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       1343(b)(10) (2019) (“As a regular condition of probation, a defendant must . . . [p]ay

       the State of North Carolina for the costs of appointed counsel, public defender, or

       appellate defender to represent him in the cases for which he was placed on

       probation.”). Therefore, the court was not required to engage in the colloquy under

       Jacobs and Friend, and the trial court’s decision must stand unless this Court finds

       that the trial court abused its discretion. Allah, 231 N.C. App. at 98, 750 S.E.2d at

       911.

¶ 25          Accordingly, we find that the trial court did not abuse its discretion in ordering

       that Defendant pay the costs of attorney’s fees. Not only was the requirement a

       regular condition of probation, authorized by N.C. Gen. Stat. § 15A-1343(b)(10), but

       the court correctly calculated the fee based on rates provided by the Office of Indigent

       Defense Services, as mandated by N.C. Gen. Stat. § 15A-1343(e).

                                       III.     Conclusion

¶ 26          For the reasons stated above, we hold that there was substantial evidence that

       Defendant was the perpetrator of the alleged offense. Thus, the trial court properly

       denied Defendant’s motion to dismiss the charge of uttering a forged instrument. We

       further hold that the trial court did not abuse its discretion in ordering the payment

       of attorney’s fees.   Accordingly, Defendant has failed to demonstrate any error

       occurred during his trial.
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NO ERROR.

Judges DIETZ and COLLINS concur.
